Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 1 of 17 PageID #: 16609




                             Exhibit K
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 2 of 17 PageID #: 16610




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION
           MARVELL SEMICONDUCTOR,                    )
           INC., MARVELL ASIA PTE,                   )
           LTD., and MARVELL INTL,                   )
           LTD.                                      )
                                                     )
                       Plaintiffs and                )
                       Counterdefendants             ) CIVI L ACTION
                                                     )
           VS.                                    .) NO. 6-07-CV-204 LED
                                                     )
           COMMONWEALTH SCIENTIFIC                   )
           AND INDUSTRIAL RESEARCH                   )
           ORGANISATION,                             )
                                                     )
                       Defendant and                 )
                       Counterclaimant.              )




                            CERTIFICATE OF NONAPPEARANCE
                          REPRESENTATIVE FOR SONY COMPUTER
                             ENTERTAINMENT AMERICA, INC.
                                   JANUARY 28, 2010



                                      Reported by:                      Jan Newman Carter
                                                                            Job No. 83137




                                                                  ORIGINAL
                                      . . ' ..... 'Reportmg                            L11:lgatlIOn SerVlces
                                       DALLAS/FORT WORTH               CORPORATE OFFICE                    SAN ANTONIO
                                        15150 Preston, Ste. 300     6575 West Loop South, Ste. 580    8000 llHO West, Ste. 1500
                                         Dallas, Texas 75248        Houston / Bellaire, Texas 77401    San Antonio, Texas 78230
                                            214°747.0763                    713-667 0 0763                  210·342·0763
                                          CORPUS CHRISTI                      AUSTIN                        EAST TEXAS
                                      711 N. Carancahua, Ste. 700     6448 Hwy. 290 E, Ste. BIOS      102 North College, Ste. 1014
                                      Corpus Christi, Texas 78475        Austin, Texas 78723              Tyler, Texas 75702
                                            361·882·0763                    512.465°9100                    903 0 593 0 3213

                                                         1.800.666.0763 • www.sunbeltreporting.com
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 3 of 17 PageID #: 16611
                                                                                              2
                              CERTIFICATE OF NONAPPEARANCE

     1                             A P PEA RAN C E S
     2
     3 FOR COMMONWEALTH SCIENTIFIC AND
       INDUSTRIAL RESEARCH ORGANISATION
     4
            JESSICA L. HANNAH
     5      CAPSHAW & DERIEUX, LLP
            THE ENERGY CENTRE
     6      1127 JUDSON ROAD, SUITE 220
            LONGVIEW, TEXAS 75601
     7      (903) 236-9800
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                      Sunbelt Reporting & Litigation Services
           Houston   Austin   Corpus Christi   Dallas/Fort Worth   East Texas   San Antonio
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 4 of 17 PageID #: 16612
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                                                                 CERTIFICATE OF NONAPPEARANCE


     1                                                      CERTIFICATE OF NONAPPEARANCE
     2        ",,"'":;:-
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                                             I, Jan Newman Carter, a Certified Shorthand
                t(          "
     3 Repopter in and for the State of Texas, cert i fy:
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     4       )~Ttr~'«~~i appeared at the Anderson County Courthouse
     5   Annex",
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    11   Computer/E'ntert~inmeht"';Ameri ca, Inc., had not appeared
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    18   3rd day of February, 2010. t;:il/~
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    19                                                                                                                                          -
    20                                                                                                            r~~~~
    21                                                                                                      Jan Newman Carter, Texas CSR 6062
                                                                                                            Expiration Date: 12/31/10
    21                                                                                                      Sunbelt Reporting & Litigation
                                                                                                            East Texas Branch
    22                                                                                                      102 N. College, Suite 1014
                                                                                                            Tyler, Texas 75703
    23                                                                                                      (903) 593-3213
    24
    25


                                         Sunbelt Reporting & Litigation Services
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Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 5 of 17 PageID #: 16613




  AO 8&\ (Rev. 06/09) Subpoena t{) Testify at a Deposition in a Civil A.ct.Wn


                                                UNITED STATES DrSTRlCT COURT
                                                                                for the
                                                                    Eastern District of Texas

          MARVELL SEMICONDUCTOR, INC., et aI.,                                     )
                                         Plaintiff                                 )
                    v.                                                             )      Civil Action No. 6:07-cv-204 LED
   COMMONWEALTH SCIENTIFIC AND INDUSTRIAL                                          )
         RESEARCH ORGANISATION                                                     )      (If the action is pending in another district, state where:
                                       Difendant                                   )                                                              )

                                       SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

   To: Sony Computer Entertainment America, Inc., 919 E. Hillsdale Blvd. #200, Foster City, CA 94404, which can be
       served at CSC - Lawyers Inco., 211 E. 7th Street #620, Ausnn, Texas 78701
      ,ofTestimony: YOU ARE COMMANDED to app= at the time, date, and place set forth below to testify at a
  deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
  one or more officers, directors, or managing agents, or designate other persons who conseo! to testify on your behalf
  about the following matters, or those set forth in an attachmeot:


    Place: The Anderson County Courthouse Annex, 703 N.                                     Date and Time:
           Mallard #103B, Palestine, Texas 75801 or other                                                         ~J28/2010 9:g0 am
           location as a reed b the artles

                The deposition will be recorded by this method:                    stenographically transcribed by a court reporter

           o Production: You, or your representatives, must also bring with you to the deposition the following documents,
                electronically stored information, or objects, and pennit their inspection, copying, testing, or sampling of the
                material:




           The provisions ofFect. R. Civ. P, 45(c), relating to your protection as a person subject to a subpoena, and Rule
   45 (d) and (e), relating to your dnty to respond to this subpoeoa and the poleotial consequences of not doing so, are
   attached.

   Date: -,0,."1~/2'-'.1,",/2,,,0-,,10,----
                                              CLERK OF COURT
                                                                                               OR

                                                     Signature Df ClErk Dr Deputy Clerk                               VAttorney's signature
    The name, address, e-mail, and telephone number of the attorney represeoting (name ofparty) Commonwealth Scientific
    and Industrial Research Organisation                                    , who issues or requests this subpoena, are:
  Jessica L Hannah, Capshaw DeRieux LLP, 1127 Judson Road #220, Longview, Texas 75601
  jhannah@capshawlaw.com, 903-233-4823


                                                                                                                                             C                I~~               I_
                                                                                                                                            e20)')14 vvr(\OI.'-",
                                                                                                                                             EXHIBIT'K'O. _-'-,_ _


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                                                                                                                                             Sunbelt Reporting & Litigation ServiLes
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 6 of 17 PageID #: 16614




  AD &SA (Rev. 06l(9) Subpoena to Testify ata Deposition in a Civil Action (Page 2)

  Civil Action No. 6:07-<:v-204 LED

                                                       PROOF OF SERVICE
                       (This section 8M uld nat be filed with the court unless required by Fed. R.. Civ. P. 45.)

                                                                ~"I'"f.. Vt. /!.
            This subpoena for (name o/individual and title. ifany)                           t/tlL- L.. cloJl}...ht9C2.~S 7i:.RV~j2
  was received by me on (date)                I - ~ 1- 10 .+T :;1.: 0 5""PJ'-'\

            ~erved the subpoena by delivering a copy to the named individual as follows: ~8,..J '/ C           Pu.
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          tAl/1,~1/1.,,,, M f. NT" It"~..H:. fLl t.1t TIIJ e pt.hltJtA e;j) 1Q Rlr4.1 S 'l74 D If&!.t: JJ r Co ~ C. - 1. ,AWy tR-!>
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            o I returned the subpoena unexecuted because:

             Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
             tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of
             $          fo./lltJ*-

  My fees are $         :;e- (;>;r..>~ ti- for travel and $ ~_~_ _ for services, for a total of $ _~O,,-,O_o_ _
             I declare noder penalty of perjury thai this information is true.


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                                                                                        Server's address

  Additional information regarding attempted service, etc:
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 7 of 17 PageID #: 16615




                                       ,\l<l.RVELL V CSIRO
                                     C.A. flO. G:07-CV-204(LED)




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                                  ATT/\ClIlIiENTS 13. C AND D
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 8 of 17 PageID #: 16616




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

                                       §
     MARVELL SEMICONDUCTOR, INC.       §
     MARVELL ASIA PTE., LTD., andMAVELL§
     INTL.,LTD,                        §
                                       §
                    Plaintiffs and     §                       Civil Action No. 6-07 -CV-204 LED
                    Counterdefendants, §
                                       §                       .Jnry Trial Demanded
               v.                      §
                                       §
     COMMONWEALTII SCIENTIFIC AND      §
     INDUSTRIAL RESEARCH ORGANISATION, §
                                       §
                    Defendant and      §
                    CountercIaimant.   §


            COMMONWEALTH SCIENTIFIC AND INDUSTRIAL RESEARCH
       ORGANISATION'S NOTICE OF INTENT TO DEPOSE A REPRESENTATIVE FOR
          SONY COMPUTER ENTERTAINMENT AMERICA, INC. PURSUANT TO
                            FED. R. CIV. PRO. 30(8)(6)

             PLEASE TAKE NOTICE that pursuant to Rille 30(b)(6) of the Federal Rules of Civil

     Procedure, Plaintiff Commonwealth Scientific and Industrial Research Organisation will take the

     deposition upon oral examination of Sony Computer Entertainment America, Inc., 919 E.

     Hillsdale Boulevard, Suite 200, Foster City, CA 94404-2176, commencing on Thursday, January

     28, 2010, at 9:00 am. or other date and time as agreed by the parties. Sony Computer

     Entertainment America, Inc. can be served through its registered agent for service of process

      Corporation Service Company d/b/a CSC - Lawyers Inca, 211 E. 7th Street, Suite 620, Austin,

      Texas 78701. This notice is a continuation of, and adds no new substance to, the notice served

     on Friday, November 20,2009, in order to accommodate Sony Computer Entertainment

      America's request for a more convenient location. The deposition will be conducted at the

     Anderson County Courthouse Annex, 703 N. Mallard #103B, Palestine, Texas 75801, or other
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 9 of 17 PageID #: 16617




     such place as agreed upon by the parties. Sony Computer EntertaIDment America, Inc. is

     directed to designate and produce one or more of its officers, directors, managing agents, or other

      designated persons to testify on its behalf as to the infonnation known or reasonably available to

     Sony Computer Entertainment America, Inc. concerning the matters set forth in ATTACHMENT A

             This is an independent Rule 30(b)(6) notice that does not supersede, modifY, or affect in

     any manner other Rule 30(b)(6) notices that have been served during this litigation.

             The deposition will be recorded stenographically before a notsry Public or other officer

      authorized to administer oaths, and shall continue day-to-day, excluding weekends and holidays,

     until completed.



     DATED: January 21,2010         Respectfully submitted,



                                            By: Is! Jessica L. Hannah
                                                S. Calvin Capshaw·
                                                State Bar No. 03783900
                                                Elizabeth L. DeRieux
                                                State Bar No. 05770585
                                                D. J e:ffi:ey Rambin
                                                State BarNo. 00791478
                                                Jessica L. Hannah
                                                CA State Bar No. 261802
                                                Capshaw DeRieux, LLP
                                                1127 Judson Rd., Suite 220
                                                Longview, Texas 75601
                                                Telephone: (903) 236-9800
                                                Facsimile: (903) 236-8787
                                                E-mail: ccapshaw@capshawlaw.com
                                                E-mail: ederieux@capshawlaw.com
                                                E-mail: jrambin@capshawlaw.com
                                                E-mail: ihannah@capshawlaw.com

                                                Attorneys for Defendant,
                                                COMMONWEALTH SCIENTIFIC AND
                                                INDUSTRIAL RESEARCH ORGANISATION
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 10 of 17 PageID #: 16618




                                     CERTIFICATE OF SERVICE

             I hereby certify that counsel of record who are deemed to have consented to electronic
     service are being served the 21st day Jannary, 2010, with a copy of this document via the Court's
     CMlECF system per Local Rule CV -5(a)(3), or to the extent not available in that manner,
     counsel of record will be served by electronic mail, facsimile transmission and/or first class mail
     on this same date.

                                                          lsi Jessica L. Hannah
                                                          Jessica L. Hannah
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 11 of 17 PageID #: 16619




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

                                                         §
      MARVELL SEMICONDUCTOR, INC.                        §
      MARVELL ASIA PTE., LTD., and MARVELL               §
      INTL., LTD,                                        §
                                        §
                                        §
                            Plaintiffs and
                                        §
                            Counterdefendants,                  Civil Action No. 6-07-CV-204 LED
                                        §
                v.                      §                       Jury Trial Demanded
                                        §
      COMMONWEALTH SClENTIFIC AND       §
      INDUSTRIAL RESEARCH ORGANISATION, §
                                        §
                     Defendant and      §
                     Counterclaimant.   §


                                            ATTACHMENT A


                                                 Definitions

            The following terms and definitions shall apply to this Notice:

         1) "And" as used herein shall mean andlor;

         2) "Identification," "identify," or "identify," when used with reference to:

                a. An individual person means to stste his or her full name, present or last known

                    employer, job title, present or last known residential address and telephone

                    nnmber, and present or last knOVI'll business address and telephone nnmber;

                b. A business entity means to state the full name and address of the entity and the

                    names and positions of the individual or individuals connected with such entity

                    who have knowledge of the information requested; and

                c. A docnment means to stste the type of document (letter, report, fact sheet, etc.);

                    its date, author(s) or originator(s), addressees; all individuals who received copies

                    of the docnment; the identity of the persons known or presumed by you to have
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 12 of 17 PageID #: 16620




                    present possession, custody, or control thereof; and a brief description of the

                    subject matter and present location;

         3) "Person" or "people" shall refer to any natural person, finn association, partnership,

            corporation, group, organization, or other form oflegal business entity.

        4) "You" or "your" means Sony Computer Entertainment America, Inc. and includes any

            officers, directors, partners, associates, employees, staff members, agents,

            representatives, attorneys, foreign or domestic subsidiaries, parents, affiliates, divisions,

            successors, predecessors, and any other related entities, and specifically includes all

            assets or companies that have been acquired by Defendant or with respect to which it has

            succeeded to rights andlor obligations.
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 13 of 17 PageID #: 16621




                 Sony Computer Entertainment America, Inc. 30(b)(6) Deposition Topics

      L     The documents, records, reports, and things contained in ATIACHMENT B and
            videos contained in ATIACHMENT D, (collectively referred to as "Material at
            Issue') including:

            A. The identification of the Material at Issue;
            B. ConfIrmation or denial that the Material at Issue is or was publicly available on your
                website;
            C. ConfIrmation or denial that Materia! at Issue was placed on the web by yOU;
            D. ConfIrmation or denial that the originals of the Materia! at Issue are within your
                "possession, custody or control" under Fed.R.Civ.P. 26(a)(1)(A)(:Li);
            E. ConfIrmation or denial that the Material at Issue was made in the regular course of
                your business;
            F. ConfIrmation or denial that the Materia! at Issue was kept in the regular course of
                your business;
            G. ConfIrmation or denial that the Materia! at Issue was made at or near the time of the
                occurrence of the matters set forth by, or from infonnation transmitted by, a person
                with knowledge of those matters;
            H. ConfIrmation or denial that the entries on or contained in the Material at Issue were
                made at or near the time of the act, event, statement, information, or transaction
                recorded or reflected in the Material at Issue;
            L   ConfIrmation or denial that it was in the regular course of your business for a person
                with knowledge of the acts, events, statements, conditions, or opinions recorded or
                reflected in or on the Material at Issue to make or record or transmit the infonnation
                to be included in the Material at Issue; and
            J. Discussion, exploration, explanation, or investigation of the items above if the
                answers are anything other than a whole and unqualifIed confIrmation, and to the
                extent that such answers are required, the documents, reports, videos, and other
                materials will be referred to separately as needed.


      II.   ConfInn the identity of the following co1porate officers:

            A. Howard Stringer;
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 14 of 17 PageID #: 16622




             1) Ryoji Chubachi; and
             2) Kazuo Hirai.


      ill.      Confinn statements attributed to you in the article(s) in ATIACHMENT C.
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 15 of 17 PageID #: 16623




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                 §
      MARVELL SEMICONDUCTOR, INC.                §
      MARVELL ASIA PTE., LTD., and MARVELL       §
      INTL., LTD,                                §
                                                 §
                        Plaintiffs and           §
                        Counterdefendan1s,       §      Civil Action No. 6-07-CV-204 LED
                                                 §
                 ~                               §      Jury Trial Demanded
                                                 §
      COMMONWEALTH SCIENTIFIC AND                §
      INDUSTRIAL RESEARCH ORGANISATION,          §
                                                 §
                        Defendant and            §
                        Counterclaimant.         §


                                      ATTACHMENT B



               See file(s) contained on CD which was served on November 20,2009.

                             A second copy will be sent via FedEx.
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 16 of 17 PageID #: 16624




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS

                                      TYLER DIVISION

                                                 §
      MARVELL SEMICONDUCTOR, INC.                §
      MARVELL ASIA PTE., LTD., and MARVELL       §
      INTL., LTD,                       §
                                        §
                     Plaintiffs and     §
                     Counterdefendants, §               Civil Action No. 6-07-CV-204 LED
                                        §
                v.                      §             . Jury Trial Demanded
                                        §
      COMMONWEALTH SCIENTIFIC AND       §
      INDUSTRIAL RESEARCH ORGANlSATION, §
                                        §
                     Derenrumtand       §
                     Counterclaimant.   §


                                      ATTACHMENT C




               See fiJe(s) contained on CD which was served on November 20,2009.

                             A second copy will be sent via FedEx.
Case 6:07-cv-00204-LED Document 291-12 Filed 03/15/10 Page 17 of 17 PageID #: 16625




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                  §
      MARVELL SEMICONDUCTOR, INC.                 §
      MARVELL ASIA PTE., LTD., and MARVELL        §
      INTL., LTD,                                 §
                                                  §
                        Plaintiffs and  §
                                        §
                        Counterdefendanis,              Civil Action No. 6-07-CV-204 LED
                                        §
                v.                      §               Jury Trial Demanded
                                        §
      COMMONWEALTH SCIENTIFIC AND       §.
      INDUSTRIAL RESEARCH ORGANISATION, §
                                        §
                     Defendant and      §
                        Counterclaimant           §


                                      ATTACHMENT D




               See file(s) contained on CD which was served on November 20, 2009.

                             A second copy will be sent via FedEL
